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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                  BOWLING GREEN DIVISION

      JOHN DOE,                                                                             Plaintiff,

      v.                                                    Civil Action No: 1:16-cv-74-DJH-HBB

      GEORGE DORDONI,                                                                     Defendant.

                                               * * * * *

                                                ORDER

           Plaintiff John Doe objects to Magistrate Judge H. Brent Brennenstuhl’s Findings of Fact,

  Conclusions of Law, and Recommendation that Defendant George Dordoni’s motion for summary

  judgment be granted. (Docket No. 123; see D.N. 122) Doe also moves to strike Dordoni’s

  response to his objections. (D.N. 125) After careful review, and for the reasons explained below,

  the Court will deny the motion to strike, overrule Doe’s objections, adopt Judge Brennenstuhl’s

  report and recommendation, and grant Dordoni’s motion for summary judgment.

                                                   I.

           As noted by Judge Brennenstuhl, the parties do not dispute the material facts of this case.

  (D.N. 122, PageID # 1286) Doe, who was born in Saudi Arabia and was a citizen of Pakistan at

  the time this suit was filed1, moved to Kentucky in 2013 to attend Western Kentucky University

  (WKU) on a valid F-1 student visa. (Id.) Although Doe was raised Muslim, after coming to the

  United States he developed an interest in Christianity. (Id.) Doe told his uncle about this interest;

  his uncle informed Doe’s father, who withdrew his financial support, leaving Doe unable to enroll

  in classes for the Spring 2015 semester. (Id., PageID # 1287)




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   Doe has since been granted asylum and is now a lawful permanent resident in the United States.
  (D.N. 122, PageID # 1289)
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         Doe’s father requested that he return to Saudi Arabia in early 2015. (Id.) When Doe

  returned, his family forcibly detained him in an attempt to change his religious beliefs. (Id.) After

  three months, Doe pretended to renounce his interest in Christianity, and his father agreed to allow

  him to return to WKU. (Id., PageID # 1288)

         WKU uses a program called iStart to track the status of international students. (Id.) The

  government, in turn, uses a program called SEVIS to track the status of international students

  within the United States. (Id.) iStart is designed to interface with SEVIS, and “[t]he compatibility

  of the iStart program with SEVIS allows the government and WKU to exchange international

  student information and records.” (Id.)

         In February 2015, iStart malfunctioned and failed to update student records in SEVIS, and

  WKU attempted to fix the issue. (Id.) Following the attempted fix, Dordoni, WKU’s Senior

  International Student and Scholar Advisor, checked a random selection of student records for

  accuracy, and by March 2015 he believed the issue had been resolved. (Id., PageID # 1287–88)

  In May 2015, while still in Saudi Arabia, Doe asked Dordoni if he was cleared to return to the

  United States. (Id., PageID # 1288) Dordoni checked Doe’s record in iStart but did not

  additionally check SEVIS. (Id., PageID # 1288–89) Based on the information in iStart, Dordoni

  informed Doe that his visa remained active and that Doe could return to the United States. (Id.,

  PageID # 1289)

         Several weeks later, Doe flew back to the United States. (Id.) But SEVIS had incorrectly

  listed Doe’s visa as inactive, and Doe was detained by U.S. Customs and Border Patrol (CBP)

  upon arrival. (Id.) Doe informed CBP about his conversion to Christianity and his desire to remain

  in the United States and thereafter was treated as an applicant for asylum. (Id.) Doe was

  transferred to an ICE holding facility, where he was held in immigration custody for nearly a



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  month; he ultimately obtained asylum status and was permitted to remain in the United States.2

  (Id.)

          Doe brought a negligence claim against Dordoni, asserting that Dordoni was negligent in

  providing Doe with inaccurate advice regarding his eligibility to enter the United States.3 (See

  D.N. 1) Dordoni moved for summary judgment (D.N. 82), and Judge McKinley granted the

  motion on the basis of qualified immunity.4 (D.N. 102) The Sixth Circuit reversed and remanded

  (D.N. 107), and the parties resubmitted their summary-judgment briefing for the Court to consider

  the motion on alternative grounds not addressed in the previous ruling. (D.N. 112) The matter

  was referred to Magistrate Judge H. Brent Brennenstuhl (D.N. 116), who issued his Findings of

  Fact, Conclusions of Law, and Recommendation on April 30, 2021, recommending that Dordoni’s

  motion for summary judgment be granted. (D.N. 122) Doe timely filed objections (D.N. 123),

  and Dordoni responded. (D.N. 124) Doe then moved to strike Dordoni’s response. (D.N. 125)



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    Federal district courts have subject-matter jurisdiction over suits “between . . . citizens of a State
  and citizens or subjects of a foreign state.” 28 U.S.C. § 1332(a)(2). But this form of diversity
  jurisdiction does not extend to “an action between citizens of a State and citizens or subjects of a
  foreign state who are lawfully admitted for permanent residence in the United States and are
  domiciled in the same State.” Id. (emphasis added). Whether diversity jurisdiction exists,
  however, depends on the parties’ citizenship “at the time of the filing of a lawsuit.” Curry v. U.S.
  Bulk Transp., Inc., 462 F.3d 536, 540 (6th Cir. 2006). Here, Doe obtained asylum status in
  September 2016 and eventually became a lawful permanent resident. (D.N. 84-6; D.N. 122,
  PageID # 1289) Yet Doe filed the complaint in this matter in May 2016, when he was still an
  “Asylum Applicant” and a citizen of Pakistan. (D.N. 1, PageID # 2, 6; D.N. 122, PageID # 1286)
  “[A]t the time of the filing” of this lawsuit then, Curry, 462 F.3d at 540, Doe was a “citizen[] or
  subject[] of a foreign state,” 28 U.S.C. § 1332(a)(2). The Court therefore has jurisdiction to hear
  this case. Id.
  3
    Doe’s claim is based upon the presumption that Dordoni had access to the same information in
  SEVIS as that available to U.S. Customs and Border Patrol; and that even assuming Dordoni had
  that same access, that the problem with Doe’s status in SEVIS would have been apparent at the
  time that Doe asked Dordoni to check. It is unclear from the record and arguments before the
  Court whether either of these contentions can be substantiated. At the summary judgment stage,
  however, the Court will, as it must, construe all evidence and draw all reasonable inferences in
  favor of Doe, the nonmovant. See Burgess v. Fischer, 735 F.3d 462, 471 (6th Cir. 2013).
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    This case was reassigned to the undersigned judge in September 2020. (See D.N. 115)
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  The Court subsequently requested supplemental briefing on the issue of whether Dordoni owed

  Doe a duty for purposes of Doe’s negligence claim (D.N. 130); the parties have now submitted

  their supplemental briefs. (D.N. 131; D.N. 132)

                                                       II.

  A.     Motion to Strike

         The Court first addresses Doe’s motion to strike Dordoni’s response to his objections.

  (D.N. 125) Doe argues that pursuant to Local Rule 72.2, “a party is not allowed to file any response

  to a written objection unless directed to do so by the Court,” and he states that Dordoni filed his

  response “without a direction from the Court.” (Id., PageID # 1343) But Local Rule 72.2 only

  applies to rulings on non-dispositive motions, and Dordoni’s motion for summary judgment is

  unquestionably dispositive. See L.R. 72.2; Crawford v. Ernspiker, No. 3:06-CV-579, 2007 WL

  1034972, at *2 (W.D. Ky. Mar. 28, 2007). And both the Federal Rules of Civil Procedure and

  relevant statutory authority clearly permit parties to file responses when an opposing party objects

  to a magistrate judge’s recommendation on a dispositive motion. See Fed. R. Civ. P. 72(b); 28

  U.S.C. § 636(b)(1)(C). Doe’s motion to strike will therefore be denied.

  B.     Objections

         When reviewing a report and recommendation, the Court reviews de novo “those portions

  of the report or specified proposed findings or recommendations to which objection is made.” 28

  U.S.C. § 636(b)(1)(C). The Court may adopt without review any portion of the report to which no

  objection is made. See Thomas v. Arn, 474 U.S. 140, 150 (1985). Upon review, the Court “may

  accept, reject, or modify the recommended disposition; receive further evidence; or return the

  matter to the magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3). Accordingly, the Court

  will review de novo the portions of Judge Brennenstuhl’s recommendation to which Doe objects.



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          Kentucky law defines negligence as “the failure to discharge a legal duty, whereby injury

  occurs.”5 Warren v. Winkle, 400 S.W.3d 755, 758 (Ky. Ct. App. 2013) (quoting Franklin v. Tracy,

  77 S.W. 1113, 1115 (Ky. 1904)). “In any negligence action under Kentucky law, a plaintiff must

  prove the existence of a duty, breach thereof, causation, and damages,” and “[t]he existence of a

  duty is a question of law for the court.” Boland-Maloney Lumber Co. v. Burnett, 302 S.W.3d 680,

  686 (Ky. Ct. App. 2009); see also Coleman v. River Valley Behav. Health, Inc., No. 4:10-CV-96-

  JHM, 2013 WL 228449, at *3 (W.D. Ky. Jan. 22, 2013) (citing Mullins v. Commonwealth Life Ins.

  Co., 839 S.W.2d 245, 247 (Ky. 1992)). “In a professional negligence case, the burden of proof is

  generally on the plaintiff to establish the applicable standard of care and the breach thereof by




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    Both parties presume that Kentucky’s substantive law applies to Doe’s negligence claim against
  Dordoni. (See, e.g., D.N. 82, PageID # 280, 283; D.N. 92, PageID # 878, 880) Judge Brennenstuhl
  likewise relies on Kentucky law to reach his conclusions of law. (See, e.g., D.N. 122, PageID #
  1294) But the Court must still determine which state’s substantive law governs this case,
  especially since Doe’s alleged injury—namely, “the deprivation of his personal liberty, economic
  loss, [and] emotional pain and suffering” stemming from his month-long detention by immigration
  authorities (D.N. 1, PageID # 7)—occurred outside of Kentucky; Doe was arrested and temporarily
  detained at Washington Dulles International Airport in northern Virginia and later transferred to
  an ICE holding facility in Farmville, Virginia (D.N. 122, PageID # 1289). A federal district court
  sitting in diversity must look to the choice-of-law rules used by courts in the forum state to
  determine which state’s substantive law applies to a particular case. See Klaxon Co. v. Stentor
  Elec. Mfg. Co., 313 U.S. 487, 496 (1941). Fortunately, the choice-of law analysis here is
  straightforward. For tort actions like this one, “Kentucky case law clearly holds that any
  significant contact with Kentucky is sufficient to allow an application of Kentucky law.”
  Reichwein v. Jackson Purchase Energy Corp., 397 S.W.3d 413, 416 (Ky. Ct. App. 2012) (quoting
  and reaffirming the reasoning from an earlier unpublished opinion). Put another way, “if there are
  significant contacts—not necessarily the most significant contacts—with Kentucky,” then
  Kentucky law should apply. Foster v. Leggett, 484 S.W.2d 827, 829 (Ky. 1972) (holding that
  Kentucky law applied to a case involving the death of a Kentucky resident in a car accident despite
  the fact that the tortfeasor was domiciled in Ohio and the fatal accident occurred in Ohio). Here,
  the parties’ contacts with Kentucky are no doubt significant. The defendant works and resides in
  Kentucky; the plaintiff was an engineering student at Western Kentucky University at the time he
  was detained by immigration authorities; and the communications between the plaintiff and the
  defendant that gave rise to this suit concerned the plaintiff’s eligibility to return to the United States
  from abroad to complete his studies in Kentucky. (D.N. 122, PageID #1287–1289). Given these
  “significant contacts” with the state, Kentucky law applies here. See Foster, 484 S.W.2d at 829.
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  expert testimony,” unless “the experience or common knowledge of laymen is extensive enough

  to recognize or to infer negligence from the facts.” Coleman, 2013 WL 228449, at *2–3.

         Judge Brennenstuhl found “that advising university students on immigration matters, and

  particularly with regard to whether it is sufficient to rely on the university’s immigration tracking

  system[] as opposed to SEVIS when providing advice, is not within the knowledge and experience

  of laypersons such that they could recognize negligence without expert assistance.” (D.N. 122,

  PageID # 1294) He therefore concluded that Doe needed expert testimony to establish “that

  Dordoni’s failure to verify Doe’s immigration status in SEVIS in addition to checking iStart did

  not comport ‘with the standard of conduct customary in the profession under the circumstances.’”

  (Id., PageID # 1294–95 (quoting another source)) Since the Court had previously excluded Doe’s

  expert witness (D.N. 121), Judge Brennenstuhl found that Doe could not establish that Dordoni

  breached the standard of care, and that Dordoni should therefore be granted summary judgment.

  (D.N. 122, PageID # 1295) In his objection, Doe argues that his “cause of action in this case is

  for common-law negligence, which does not require expert testimony.” (D.N. 123, PageID #

  1314) Additionally, Doe argues that Dordoni owed him a duty because “Dordoni voluntarily

  assumed a duty to Doe by rendering a service to him on which he reasonably relied.” (D.N. 132,

  PageID # 1376)

         Regardless of whether expert testimony is required to establish breach, summary judgment

  is nonetheless warranted here because Doe has not met his burden of proving that Dordoni owed

  him a duty. See Boland-Maloney Lumber Co., 302 S.W.3d at 686. Doe argues that Dordoni owed

  him a voluntarily-assumed duty because “Dordoni voluntarily assumed the duty to render a service

  to Doe in advising him of his immigration status before Doe attempted to travel back to the United

  States.” (D.N. 132, PageID # 1378) Under Kentucky law, it is “well-settled” that “one who



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  volunteers to act, though under no duty to do so, is charged with the duty of acting with due care.”

  Ostendorf v. Clark Equip. Co., 122 S.W.3d 530, 538 (Ky. 2003) (quoting Sheehan v. United Servs.

  Auto. Ass’n, 913 S.W.2d 4, 6 (Ky. Ct. App. 1996)). And by extension, “a breach of a voluntarily

  assumed duty can give rise to tort liability.” Grand Aerie Fraternal Order of Eagles v. Carneyhan,

  169 S.W.3d 840, 847 (Ky. 2005). The Kentucky Supreme Court has adopted the Restatement

  (Second) of Torts “regarding the elements necessary for liability for the breach of a voluntarily

  assumed duty.” Morgan v. Scott, 291 S.W.3d 622, 632 (Ky. 2009). Specifically, § 323 of the

  Restatement provides:

                 One who undertakes, gratuitously or for consideration, to render
                 services to another which he should recognize as necessary for the
                 protection of the other’s person or things, is subject to liability to the
                 other for physical harm resulting from his failure to exercise
                 reasonable care to perform his undertaking, if (a) his failure to
                 exercise such care increases the risk of such harm, or (b) the harm is
                 suffered because of the other’s reliance upon the undertaking.

  Restatement (Second) of Torts § 323 (Am. Law Inst. 1965).6



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    In Morgan v. Scott, the Kentucky Supreme Court observed that it had “previously adopted
  Restatement (Second) of Torts § 324A regarding the elements necessary for liability for the breach
  of a voluntarily assumed duty” rather than § 323, the section quoted above. Morgan, 291 S.W.3d
  at 632 (citing Ostendorf, 122 S.W.3d at 538–39). Section 323 addresses the duty between “[o]ne
  who undertakes, gratuitously or for consideration, to render services to another” and the direct
  recipient of those services. Restatement (Second) of Torts § 323. Section 324A, on the other
  hand, concerns the duty between “[o]ne who undertakes, gratuitously or for consideration, to
  render services to another” and third parties—that is, persons who are not the direct recipients of
  the services rendered. Id. § 324A. The former section is more applicable to this case because Doe
  asserts that Dordoni “voluntarily assumed [a] duty” owed directly to Doe. (D.N. 132, PageID #
  1378) But the Court’s analysis would be the same regardless of which particular Restatement
  section applies. The lone basis for liability that Doe asserts is that he “undoubtedly relied on” and
  was ultimately “harmed by” Dordoni’s “voluntarily assumed duty.” (Id., PageID # 1379). And
  importantly, this reliance-based basis for liability stemming from a voluntarily-assumed duty
  appears in both § 323 and § 324A. See Restatement (Second) of Torts § 323(b); id. § 324A(c); see
  also Wilburn v. United States, 616 F. App’x 848, 853 n.1 (6th Cir. 2015) (unpublished) (noting
  that, in a case addressing whether a defendant voluntarily assumed a duty, applying § 323 rather
  than § 324A “d[id] not alter [the court’s] analysis” because “the pertinent requirements of both
  [sections] are identical”).
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         Here, Doe argues that “Dordoni ‘actually and specifically’ undertook to render services to

  Doe, namely, providing information about Doe’s immigration status and advising Doe of his

  ability to re-enter the U.S.” (D.N. 132, PageID # 1378) According to Doe, once Dordoni “chose

  . . . to give advice and assistance to Doe,” Dordoni was “required to provide that assistance in a

  reasonable and careful manner.” (Id.) Doe further contends that he “undoubtedly relied on” and

  was ultimately “harmed by” Dordoni’s voluntarily-assumed undertaking, thus “meeting one of the

  . . . bases for imposing an assumed duty” under the Restatement. (Id., PageID # 1378–79 (citing

  Ostendorf, 122 S.W.3d at 538)) And Doe insists that “[t]he question of whether” Dordoni

  performed this assumed duty “with reasonable care is a question of fact for the jury and is not

  appropriate for summary judgment.” (Id., PageID # 1378) Even assuming all of this to be true,

  however, it is beside the point because a defendant is only liable for breach of a voluntarily-

  assumed duty that results in “physical harm.” Morgan, 291 S.W.3d at 632 (quoting Restatement

  (Second) of Torts § 324A). Yet Doe does not claim that he suffered physical harm as a result of

  Dordoni’s actions, nor does he seek damages for physical harm.

         “Physical harm” as used in the Restatement “denote[s] the physical impairment of the

  human body, or of land or chattels.” Restatement (Second) of Torts § 7. Moreover, “physical

  impairment of the human body”—which the Restatement also calls “bodily harm,” see id. § 7 cmt.

  e—includes, more specifically, “any physical impairment of the condition of another’s body, or

  physical pain or illness.” Id. § 15. “Physical harm,” in short, requires that the “structure or

  function of any part” of the body be “altered” in some concrete, tangible way. See id. § 15 cmt. a.

         The Kentucky Supreme Court has cited the Restatement’s description of “physical harm”

  with approval. Indeed, “a cause of action in tort” under Kentucky law “requires a present physical

  injury to the plaintiff.” Wood v. Wyeth-Ayerst Labs., Div. of Am. Home Prods., 82 S.W.3d 849,



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  852 (Ky. 2002). And the Kentucky Supreme Court has noted that the Restatement’s definition of

  “physical harm” is “on point” for purposes of determining whether a plaintiff’s alleged harm

  “constitutes [a] present physical injury” sufficient to support a negligence claim. See id. at 855.

  Thus, under both the Restatement and Kentucky law, a viable negligence claim requires some

  showing that the plaintiff has suffered tangible physical harm. For instance, the plaintiffs in all of

  the cases that Doe cites in support of his argument that Dordoni voluntarily assumed a duty to

  assist Doe with reasonable care (D.N. 132, Page ID # 1376–78) undoubtedly suffered what can

  only be described as “physical harm” or a “present physical injury.”7 In contrast, where plaintiffs

  bringing a negligence claim have sustained “no present physical injury,” courts applying Kentucky

  law have reached a straightforward conclusion: “there can be no cause of action.” See Wood, 82

  S.W.3d at 855–56 (holding that a plaintiff who ingested a diet medication that was later found to

  have harmful side effects failed to state a negligence claim because she had not yet experienced

  illness or physical harm at the time of her suit); Powell v. Tosh, 929 F. Supp. 2d 691, 709 (W.D.

  Ky. 2013) (holding that plaintiffs had “failed to present personal injuries to support a negligence

  claim” because they “ha[d] suffered no physical harm” as a result of odors from the defendant’s

  neighboring hog farm).




  7
    See Grand Aerie Fraternal Order of Eagles, 169 S.W.3d at 843 (involving an estate plaintiff
  suing on behalf of a decedent killed in a car collision after being served alcohol at a local chapter
  of the defendant, a fraternal organization); Ostendorf, 122 S.W.3d at 532 (involving a plaintiff
  who was “severely injured” when the forklift he was driving, which was manufactured by the
  defendant, tipped over and pinned the plaintiff’s foot to the ground); Sheehan, 913 S.W.2d at 5
  (involving an estate plaintiff suing on behalf of a decedent who was mortally wounded by a
  gunshot from a revolver found on a property insured by the defendant); Estep v. B.F. Saul Real
  Estate Inv. Tr., 843 S.W.2d 911, 912 (Ky. Ct. App. 1992) (involving plaintiffs who slipped and
  injured themselves on an icy sidewalk that the defendants were supposed to maintain); Johnson v.
  Brey, 438 S.W.2d 535, 536 (Ky. 1969) (involving a six-year-old plaintiff whose eye was seriously
  injured when a branch held by the defendant struck the plaintiff in the face).
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          In his complaint, Doe alleges that Dordoni’s conduct caused Doe to suffer “the deprivation

   of his personal liberty, economic loss, [and] emotional pain and suffering.” (D.N. 1, PageID # 7)

   And in his objections to Judge Brennenstuhl’s report and recommendation, Doe reiterates that he

   is “seek[ing] damages for deprivation of his personal liberty due to his detention” and for the

   “anxiety and humiliation” that resulted from him “having been wrongfully detained.” (D.N. 123,

   PageID # 1318, 1320) Yet while Doe’s month-long detention by immigration authorities was no

   doubt a distressing ordeal, the alleged injuries he suffered as a result of that detention simply do

   not constitute the sort of “physical harm” necessary under Kentucky law to sustain his claim that

   Dordoni breached a voluntarily-assumed duty. See Restatement (Second) of Torts § 323.

          Start with the core of Doe’s alleged injuries, the “deprivation of his personal liberty.” (D.N.

   1, PageID # 7; D.N. 123, PageID # 1318) While Doe was detained at an ICE holding facility, he

   was “treated like a prisoner, deprived of his personal belongings, forced to shower and use the

   restroom in front of all the other prisoners, live and sleep in a dormitory with eighty-four other

   men, and wear government issued clothing.” (Id., PageID # 1311) Such treatment, Doe says,

   “resulted in humiliation [and] embarrassment.” (Id., PageID # 1318) But nowhere does Doe say

   that his detention also resulted in “the physical impairment” of his body or caused him “physical

   pain or illness.” Restatement (Second) of Torts §§ 7(3), 15. Furthermore, while Doe’s detention

   standing alone might be sufficient to bring a claim for false imprisonment, an intentional tort, see

   Wal-Mart Stores, Inc. v. Mitchell, 877 S.W.2d 616, 617 (Ky. Ct. App. 1994), his negligence claim

   requires additional proof that he suffered “physical harm” as a consequence of being detained. See

   Morgan, 291 S.W.3d at 632. Doe has failed to even allege physical harm here, let alone offer

   enough evidence of such harm to survive summary judgment.




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          Doe’s negligence claim is not saved by the “economic loss” and “emotional pain and

   suffering” he endured as a result of his detention. (D.N. 1, PageID #7) Regarding the former,

   even assuming that the legal fees that Doe spent to navigate the asylum system were a foreseeable

   consequence of Dordoni’s purportedly negligent advice about the status of Doe’s nonimmigrant

   student visa (see D.N. 124, PageID # 1335–37), economic harm is categorically different from the

   sort of physical harm needed to bring a negligence claim in Kentucky. See Wood, 82 S.W.3d at

   854 (asserting that “[t]here can be no question but that” Kentucky case law “require[s] a physical

   injury for a cause of action” in tort) (emphasis added). As for Doe’s “emotional pain and

   suffering,” the Restatement makes clear that “[t]he minute disturbance of the nerve centers caused

   by fear, shock or other emotions”—including, presumably, the “humiliation [and] embarrassment”

   that Doe suffered while being detained (D.N. 123, PageID # 1318)—“does not constitute” physical

   harm. Restatement (Second) of Torts § 15 cmt. b. Doe conceivably could have suffered “physical

   harm” if the humiliation and embarrassment he endured while detained “result[ed] in some

   appreciable illness” or “ha[d] some other effect upon the physical condition” of his body. Id. But

   Doe has offered no evidence whatsoever that his “emotional pain and suffering” (D.N. 1, PageID

   # 7) manifested itself as a “physical impairment.”8 See Restatement (Second) of Torts § 7(3).

          At bottom, for Doe to prevail on his claim that Dordoni breached a voluntarily-assumed

   duty, Kentucky law requires Doe to have suffered some form of “physical harm.” See Morgan,

   291 S.W.3d at 632. Yet Doe has neither alleged nor demonstrated that he experienced such harm



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     Even if Doe had claimed that his emotional pain and suffering had caused him “physical
   impairment” or “physical pain or illness,” Restatement (Second) of Torts § 15, Judge Brennenstuhl
   rightly points out that Doe still would have failed to support what effectively amounts to a claim
   for “‘severe’ or ‘serious’ emotional injury” with “medical or scientific evidence” (D.N. 122,
   PageID # 1302), as is required by Kentucky law. See Osborne v. Keeney, 399 S.W.3d 1, 17–18
   (Ky. 2012) (“[A] plaintiff claiming emotional distress damages must present expert medical or
   scientific proof to support the claimed injury or impairment.”).
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   as a result of Dordoni’s conduct. Doe has thus failed to meet his burden of “prov[ing] the existence

   of a duty,” Boland-Maloney Lumber Co., 302 S.W.3d at 686, and his negligence claim necessarily

   fails as well. Thus, summary judgment for Dordoni is appropriate, and Doe’s objection will be

   overruled.9 See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (concluding that Fed. R. Civ.

   P. 56 “mandates the entry of summary judgment . . . against a party who fails to make a showing

   sufficient to establish the existence of an element essential to that party’s case”).




   As this issue is dispositive of Dordoni’s summary-judgment motion, the Court need not consider
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   Doe’s objection to Judge Brennenstuhl’s finding on damages. (See D.N. 123, PageID # 1318)
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                                                    III.

            For the reasons set forth above, and the Court being otherwise sufficiently advised, it is

   hereby

            ORDERED as follows:

            (1)     The Findings of Fact, Conclusions of Law, and Recommendation of Magistrate

   Judge Brennenstuhl (D.N. 122) are ADOPTED as modified in this Order and INCORPORATED

   by reference herein.

            (2)     Doe’s objections to the magistrate judge’s recommendation (D.N. 123) are

   OVERRULED.

            (3)     Dordoni’s motion for summary judgment (D.N. 82) is GRANTED.

            (4)     Doe’s motion to strike (D.N. 125) is DENIED.

            (5)     A separate judgment will be entered this date.

            September 28, 2021




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